            Case 1:19-cr-10082-DPW Document 1 Filed 03/05/19 Page 1 of 8




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


                                                      Criminal No.
 UNITED STATES OF AMERICA
                                                      Violations:
                V.


                                                      Count One: Conspiracy to Commit Wire Fraud
 XIAONING SUI,                                        and Honest Services Wire Fraud
                                                      (18U.S.C. § 1349)
                       Defendant.
                                                      Forfeiture Allegation:
                                                      (18 U.S.C. § 981(a)(1)(C) and
                                                      28 U.S.C. §2461(c))



                                          INDICTMENT


       At all times relevant to this Indictment:
                                                                SEALED
                                       General Allegations

       1.      Defendant, XIAONING SUI, was a resident of Surrey, British Columbia, Canada.

SUI is the mother of Applicant 1, a student enrolled in secondary school in British Columbia,

Canada. Applicant 1 is a tennis player who does not play competitive soccer.

       2.      William "Rick" Singer was a resident, variously, of Sacramento and Newport

Beach, California. Singer owned the Edge College & Career Network LLC, also known as "The

Key," a for-profit college counseling and preparation business that he founded in or about 2007

and incorporated in the State of California in or about 2012. Singer also served as Chief Executive

Officer of the Key Worldwide Foundation ("KWF"), a non-profit corporation that he established

as a purported charity in or about 2012. KWF maintained several hank accounts (collectively, the

"KWF charitable accounts"), including one located in the District of Massachusetts.
            Case 1:19-cr-10082-DPW Document 1 Filed 03/05/19 Page 2 of 8




       3.      Jorge Salcedo ("Salcedo") was a resident of Los Angeles, California. Salcedo was

employed as the head coach of men's soccer at the University of California at Los Angeles

("UCLA"), a highly selective university located in Los Angeles, California. The athletic teams of

UCLA compete in most sports, including men's soccer, at the Division I level, the highest level of

intercollegiate athletics sanctioned by the National Collegiate Athletic Association ("NCAA").

The UCLA admissions office typically allocates a nrunber of admissions slots to each head coach

to recruit highly qualified athletes. Being on a UCLA head coach's list of recruited athletes

significantly increases an applicant's chance of being admitted to UCLA.

       4.      Ali Khosroshahin ("Khosroshahin") was a resident of Foimtain Valley, California.

Until November 8,2013, Khosroshahin was employed as the head coach ofwomen's soccer at the

University of Southem California.

       5.      Laura Janke ("Janke") was a resident of North Hollywood, California. Until

January 10,2014, Janke was employed as an assistant coach of women's soccer at the University

of Southem California.


       6.      Tennis Recruiter ("Recraiter 1") was a resident of Sarasota, Florida. Recruiter 1

owned and operated a college tennis recruiting service based in Florida. In that capacity. Recruiter

1 matched high school tennis players with college tennis coaches as part ofthe college admissions

process.


                                         The Conspiracv


       7.      Beginning in or about August 2018, SUI agreed with Singer, Salcedo, Recmiter 1

and others known and unknown to the Grand Jury to bribe Salcedo to recmit SUI's son. Applicant

1, onto the UCLA men's soccer team, and thereby facilitating his admission to UCLA, in violation

of the duty of honest services Salcedo owed to UCLA as his employer.
            Case 1:19-cr-10082-DPW Document 1 Filed 03/05/19 Page 3 of 8




                             Purposes and Objects of the Conspiracy

       8.      The principal purposes and objects of the conspiracy included the following:

               a.      to facilitate the admission of Applicant 1 to UCLA as a recruited soccer

player, regardless ofhis ability to play soccer; and

               b.      to enrich Salcedo and Singer personally.

                              Manner and Means of the Conspiracy

       9.      Among the manner and means by which SUI, Singer, Salcedo, Recruiter 1 and

others known and unknown to the Grand Jury carried out the conspiracy were the folloAving:

               a.      paying bribes to Salcedo in exchange for his agreement to recruit SUFs son.

Applicant 1, onto the UCLA men's soccer team;

               b.      concealing the nature and somce of the bribe payments by funneling

payments through the KWF charitable accounts.

                              Acts in Fiirtherance of the Conspiracy

       10.     On various dates between August 2018 and February 2019, SUI, Singer, Salcedo,

and others known and unknown to the Grand Jury committed and caused to be committed the

following acts, among others, in furtherance of the conspiracy:

       11.     In or about early August 2018, Recruiter 1 spoke with Singer by telephone. In the

call. Singer provided Recruiter 1 with prices for how much it would cost to secure admission for

Applicant 1 to various universities, including UCLA, through bribery.

        12.    On or about August 20, 2018, Recruiter 1 emailed Singer the secondary school

transcript for Applicant 1, which Singer forwarded to Khosroshahin.
          Case 1:19-cr-10082-DPW Document 1 Filed 03/05/19 Page 4 of 8




       13.     On or about August 24, 2018, Singer had a conference call with SUI, Recruiter 1

and a Chinese translator. In the call. Singer explained to SUI, through the Chinese translator, that

Singer himself would need to write Applicant's 1 application in a "special way," and only then

can it he "guaranteed that he can get in" to UCLA. In addition, SUI would need to set up an escrow

account and put $400,000 into it, which would hold the money pending Applicant I's acceptance

to UCLA. Singer explained to SUI that Applicant 1 would not "know anything is happening."

       14.     On or about September 5, 2018, SUI sent Recruiter 1 actual pictures of Applicant

1 playing tennis. Recruiter 1 forwarded the pictures to Singer, who sent the pictures to Janke,

writing, "This young man will he a soccer player from Vancouver for UCLA."

       15.     On or about September 12,2018, Janke sent Singer a fabricated soccer profile for

Applicant 1, which included a photograph of a different individual playing competitive soccer.

The profile listed various purported soccer achievements and described Applicant 1 as a top player

for two private soccer clubs in Canada. Singer forwardedthe profile to Salcedo and Khosroshahin.

       16.     Between September 2018 and October 2018, Singer sent copies of Applicant I's

secondary school transcript to Khosroshahin, who sent the transcript to Salcedo. Salcedo, in turn,

sent the materials to UCLA athletics administrators in order to process the recruitment ofApplicant

1 as a UCLA soccer player.

       17.     On or about October 24, 2018, Singer had a conference call with SUI, Recruiter 1

and a Chinese tremslator. In the conference call. Singer explained in English that he needed SUI to

wire $100,000 to Singer's bank account, which would be "paid to the coach at UCLA" in exchange

for a letter of intent from the coach recruiting Applicant 1 onto his soccer team. Singer further

explained that the $100,000 would be paid to "the UCLA men's soccer coach directly." The

translator translated what Singer said into Chinese, telling SUI: "Your son is admitted to this
           Case 1:19-cr-10082-DPW Document 1 Filed 03/05/19 Page 5 of 8




school through UCLA's soccer team. That $100,000 is directly transferred to that soccer coach.

So, although your son is a tennis player, because there is a place in soccer team, so it is the soccer

team that takes your son." SUI responded, "OK."

        18.     On or about October 25, 2018, Singer, who was in Massachusetts at the time,

mailed a $100,000 check to Salcedo, and a $25,000 check to Khosroshahin.

        19.     On or about October 26,2018, SUI wired $100,000 from Canada to a KWF account

in the District ;of Massachusetts.                                      m


        20.     On or about November 5, 2018, UCLA approved Applicant 1 for admission to

UCLA as a recruited soccer player. Applicant 1 was also awarded a 25 percent scholarship as part

of his recruitment. A letter of intent was sent to Applicant 1 on or about November 14,2018.

        21.     On or about November 20,2018, Applicant 1 signed the UCLA letter of intent. SUI

sent Singer an email confirming that Applicant 1 had signed the letter of intent.

        22.     On or about February 15, 2019, SUI wired $300,000 from Canada to a KWF

account in the District of Massachusetts, which was the final payment for Applicant 1's admission

to UCLA.
          Case 1:19-cr-10082-DPW Document 1 Filed 03/05/19 Page 6 of 8




                                          COUNT ONE
               Conspiracy to Commit Wire Fraud and Honest Services Wire Fraud
                                    (18U.S.C. § 1349)

      The Grand Jury charges:

       23.     The Grand Jury re-alleges and incorporates by reference paragraphs 1-22 of this

Indictment.


       24.     From in or about August 2018 through in or about February 2019, in the District of

Massachusetts and elsewhere, the defendant,

                                        XIAONING SUI,

conspired with others known and unknown to the Grand Jury to commit wire fraud and honest

services wire fraud, that is, having devised and intending to devise a scheme and artificeto defraud

and to obtain money and property,to wit, admissionto the University ofCaliforniaat Los Angeles,

by means of materially false and fraudulent pretenses,representations and promises, andto deprive

the University of California at Los Angeles of its right to the honest and faithful services of its

employee, Jorge Salcedo, through bribes and kickbacks, did transmitand causeto be transmitted,

by means of wire communications in interstate and foreign commerce, writings, signs, signals,

pictures and soimds, for the purpose of executing the scheme to defraud, in violation of Title 18,

United States Code, Sections 1343 and 1346.

       All in violation of Title 18, United States Code, Section 1349.
          Case 1:19-cr-10082-DPW Document 1 Filed 03/05/19 Page 7 of 8




                                 FORFEITURE ALLEGATION
                       (18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c))

       25.     Upon conviction ofthe offense in violation of Title 18, United States Code, Section

1349, set forth in Count 1 of this Indictment, the defendant,

                                        XIAONING SUI,

 shall forfeit to the United States, pursuant to Title 18, United States Code, Section 981(a)(1)(C),

and Title 28, United States Code, Section 2461(c), any property, real or personal, which

constitutes or is derived from proceeds traceable to the offense.

       26.     Ifany ofthe property described in Paragraph 25 above, as being forfeitable pursuant

to Title 18, United States Code, Section 981(a)(1)(C), and Title 28, United States Code, Section

2461(c), as a result of any act or omission of the defendant ~

               a. cannot be located upon the exercise of due diligence;

               b. has been transferred or sold to, or deposited with, a third party;

               c. has been placed beyond the jmisdiction of the Court;

               d. has been substantially diminished in value; or

               e. has been commingled with other property which cannot be divided without
                   difficulty;

it is the intention of the United States, pmsuant to Title 28, United States Code, Section 2461(c),

incorporatingTitle 21, United States Code, Section 853(p), to seek forfeiture of any other property

of the defendant up to the value of the property described in Paragraph 25 above.

       All pursuant to Title 18, United States Code, Section 981(a)(1)(C), and Title 28, United

States Code, Section 2461(c).
          Case 1:19-cr-10082-DPW Document 1 Filed 03/05/19 Page 8 of 8




                                                     A TRUE BI




ERIC S. ROSEN
JUSTIN D. O'CONNELL
KRISTEN A. KEARNEY
LESLIE A. WRIGHT
ASSISTANT UNITED STATES ATTORNEYS
DISTRICT OF MASSACHUSETTS



District of Massachusetts: MARCH 5,2019
Returned into the District Court by the Grand Jurors and filed.



                                                     DEPUTY CLERK
